        Case 1:21-cr-00088-JL         Document 137        Filed 01/10/25      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA }
                         }
v.                       }                                   1:21-cr-0088-JL
                         }
COREY DONOVAN            }



                   COUNSEL’S REPLY TO ORDER ON DEFENDANT’S

                             MOTION TO RETURN PROPERTY
       Now comes, Attorney Matthew Stachowske, former defense counsel to Corey Donovan

and replies to this Court’s order1 issued in response to Mr. Donovan’s Motion for Return of

Property under Rule 41(g). Index #134 (dated December 19, 2024).

       Undersigned counsel seeks clarification of this Court’s order instructing that defense

counsel shall confer with his client. Undersigned counsel’s representation of Corey Donovan

terminated following the jury’s verdict in this trial in October 2021. Corey Donovan has not

been undersigned’s client for over 3 years. Successor counsel include, Patrick Richard, who has

also since been terminated, and then Donna Brown, who handled the sentencing as well as an

appeal. See recently published opinion, US v. Donovan, No. 23-1328 (1st Cir. 2024).

       Second, Corey Donovan most recently filed an 18 USC § 2255 ineffective assistance of

counsel claim against undersigned counsel. Index #135; see also 1:24-cv-00392-JL-TSM.

Given the allegations, there is an "irretrievable breakdown of an attorney-client relationship"- a




1ENDORSED ORDER as to Corey Donovan RE 134 MOTION for Return of Property. Text of
Order: Defense counsel (not the defendant) shall confer with his client and the defendant in
an attempt to resolve the motion. Should no resolution be reached, defense counsel (not the
defendant) should file a reply on or before January 17, 2025. So Ordered by Judge Joseph N.
Laplante.


                                                 1
        Case 1:21-cr-00088-JL         Document 137        Filed 01/10/25      Page 2 of 3




complete and irreparable breakdown in trust and communication between a lawyer and this

former client.

       For these reasons, undersigned counsel is not in a position to seek reappoint to represent

Corey Donovan nor is undersigned counsel in a position to speak with this former client

regarding his complaints over alleged recorded attorney client phone calls. Undersigned counsel

can also share that counsel does not have any of the purported recorded conversations he speaks

of in his pleading.

                              Brief Recap of the Procedural History

       For the Court’s benefit, by way of background, on March 30, 2021, a Petition for

violation of Supervised Release was filed and a warrant was issued for Corey Donovan’s arrest.

Mr. Donovan was arrested on April 15, 2021, and undersigned counsel was appointed on April

16, 2021. On May 17, 2021, Corey Donovan was indicted on one count of being a felon in

possession of a firearm in violation of 18 U.S.C. § 922(g)(1) and again undersigned counsel was

appointed to represent this defendant. The indictment stems from a firearm found on the

defendant’s property. Specifically, it was found in his Jeep, strapped to a role bar covered with

camo netting, during a search warrant of the property. Undersigned counsel represented Mr.

Donovan through the jury’s verdict of guilty rendered on October 15, 2021. Following the

verdict, undersigned counsel was replaced by successor counsel. On October 19, 2021, Attorney

Patrick Richard was appointed to represent Mr. Donovan through sentencing. On February 24,

2022, Mr. Donovan filed a Motion for Status of Counsel, and the Court ordered the appointment

of new counsel without a hearing. On March 8, 2022, Attorney Donna Brown was appointed to

represent Mr. Donovan through sentencing. On March 27, 2023, Mr. Donovan was sentenced to

110 months. On April 3, 2023, Mr. Donovan filed a Notice of Appeal that resulted in a published




                                                 2
        Case 1:21-cr-00088-JL            Document 137       Filed 01/10/25     Page 3 of 3




opinion US v. Donovan, No. 23-1328 (1st Cir. 2024)(September 13, 2024) that can be found at

Index 126 (affirming the trial court).

       On November 11, 2024, Corey Donovan filed a 20 page “2255 Motion” claiming, inter

alia, undersigned counsel was ineffective. Index #135.


                                             Conclusion


       For all the reasons stated herein, undersigned counsel is not in a position to communicate

with this former client regarding resolution of his request for return of property nor is counsel in

possession of any purported recordings.




                                                              Respectfully submitted,

Date: January 10, 2025                                by:     /s/ Matthew G. Stachowske
                                                              Matthew G. Stachowske (#15609)
                                                              Stachowske Law, PLLC
                                                              634 Central Ave
                                                              Dover, NH 03820
                                                              O: 343-1842
                                                              C: 770-9045
                                                              matthew@stachowskelaw.com


                                  CERTIFICATE OF SERVICE

       I, Matthew G. Stachowske, hereby certify that I have mailed a copy of the within reply to
Assistant United States Attorneys Charles Rombeau via the court’s ECF facilities on today’s date.

                                                              /s/ Matthew G. Stachowske




                                                  3
